23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 1 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 2 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 3 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 4 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 5 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 6 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 7 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 8 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 9 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 10 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 11 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 12 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 13 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 14 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 15 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 16 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 17 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 18 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 19 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 20 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 21 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 22 of 23
23-49817-mar   Doc 65   Filed 02/26/24   Entered 02/26/24 10:57:46   Page 23 of 23
